Case 15-40248                  Doc 378            Filed 06/23/16 Entered 06/23/16 11:53:37                  Desc Main
                                                   Document     Page 1 of 3




        NAME:                                           GTL(USA),Inc.
This         coversthe GTL CreditorsTruston

        NUMBER:                                         15-40248
FINAL REPORT
   ARTERENDING:6130116            ffDate 619/16


                               UNITED STATESBANKRUPTCYCOURT


                               NORTHERNAND EASTERNDISTRICTS


                                   DALLAS AND TYLER DIVISONS


                                  FOR POSTCONFIRMATION USE



                               FINAL QUARTERLY OPERATING REPORT


                                                  AND


                                QUARTERLY BANI( RECONCILEMENT


            with Title 28, Section1746,ofthe UnitedStatesCode,I declareunderpenaltyofperjury that I have
In accordance
examinedthe attachedPostConfirmationQuarterlyOperatingReport,andthe PostConfirmationQuarterlyBank
Reconcilementand,to the bestofmy knowledge,thesedocumentsaretrue,conectandcomplete.Declarationofthe
preparer(otherthanresponsibleparty),is basedon all informationofwhich preparerhasany knowledge.


RESPONSIBLEPARTY:                                       CorporateRecoveryAssociates,LLC

OriginalSignatureof Responsible
                              Party


PrintedNameofResponsibleParty                           RichardJ.                 CIRAfor

Title                                                   SeniorManagingDirector

Date                                                    6t23t16

PREPARER:


OriginalSignatureof Preparer


Printed
      Nameof Preparer                                   Richard J. Feferman, CIRA for Corporate Recovery Associates,

Title                                                   SeniorManagingDirector

Date                                                    6123116

QUARTERENDING: 6i30l16(Cutoff Date6/9/16)
Case 15-40248                             Doc 378                     Filed 06/23/16 Entered 06/23/16 11:53:37                        Desc Main
                                                                       Document     Page 2 of 3




                                                           FINAL REPORT



         NAME: GTL (USA). Inc




         NUMBER: l5-40248




 The rorgmired    debtor must @mplete thc reconciliation    below foreach bek     account, including all general, payroll

 dd tax rcmunts, d well as all savings dd     invesbncnt accounts, nroncy ma*ei     a€ounts, cc(ificatcs   ofdcposits, govemntental
 obligations, etc. Ac@unts'sith   resricrcd funds should bc identificd by placing an Gtcrisl   ncxt to the ecount   nunrber.

 Atach   additional sh@ts for€ach bank reconcilenrent ifn@essN.




  *r** Must tic to Linc 4,
                           QuancrlyOpcratingRcpon
Case 15-40248          Doc 378          Filed 06/23/16 Entered 06/23/16 11:53:37    Desc Main
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                                          FINALREPORT
     POSTCONFIRMATION
     FINAL QUARTERLY OPERATING REPORT




      ASENAME:GTL (USA0.Inc.
     This report coversthe GTL CreditorsTrust


      ASE115-40248
     FINAL REPORT
        RTER ENDING: 6/30/16(CutoffDate 6/9/16




         1 BEGINNINGOF QUARTERCASHBALANCE                                      s 4 8 1. 2 1 6 . 9 8


          CASH RECEIPTS:
          CASH RECEIPTSDURING CURRENT QUARTER:
          (a). Cashreceiptslrom businessoperations                     +
          (b). Cash receiptsfrom loan proceeds                         +
          (c). Cash receiptsfrom contributedcapital
          (d). Cash receipts from tax refunds                          +
          (e). Cash receiptsliom other sources                         +
        2 TOTAL CASH RECEIPTS                                          =       s481.216.98
          CASH DISBURSEMENTS:
          (A), PAYMENTS MADE UNDERTHE PLAN:
          (I). Administrative                                          +
          (2), SecuredCreditors                                        +          $199,95
          (3). Priority Creditors                                      +         $4.650.17
          (4). UnsecuredCreditors                                      +       $231.770.21
          (5), Additional Plan Payments                                +           $91.80
          (B). OTHER PAYMENTS MADE THIS QUARTER:
          ( I ), GeneralBusiness(Bank Charges)                         +             $353.29
          (2). Other Disbursements(ProfessionalFeesand OUST Fees)      +           $17.943.64
        3 TOTAL DISBURSEMENTSTHIS QUARTER                                      $255.009.06
        4 CASH BALANCE END OF QUARTER                                  =       $226.207.92
